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CLEAK'S OFFICE U.S. DISTRICT. COURT
AT ABINGDON, VA
FILED

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA AUG 22 2023
BIG STONE GAP

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UNITED STATES OF AMERICA : DEPUTY CLERK

Vv. : Case No. 2:22-CR-00010
LYNN EDWARD (“PETIE”) BOWEN II : Violation: 18 U.S.C. § 922

SUPERSEDING INDICTMENT

COUNT ONE

The Grand Jury charges that:

lL. On or about June 16, 2022, in the Western District of Virginia and elsewhere,
LYNN EDWARD (“PETIE”) BOWEN II, knowing he had previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, and while knowingly being an
unlawful user of and addicted to any controlled substance, knowingly possessed a firearm and
ammunition, that is, a Smith & Wesson, Model 60, .38 caliber revolver and three rounds of .38
caliber ammunition, which were in and affecting commerce.

2s When LYNN EDWARD (“PETIE”) BOWEN II committed the offense charged in
this count, he had at least three previous convictions for serious drug offenses committed on
occasions different from one another, including:

e Conviction in Wise County, Virginia Circuit Court on or about February 1,
2007 (Case No. F06-385), for distribution of a Schedule II controlled substance
(Oxycontin), in violation of Virginia Code § 18.2-248, with an offense date of
January 4, 2006;

e Conviction in Wise County, Virginia Circuit Court on or about July 13, 2011

(Case No. F10-634), for distribution of a Schedule II controlled substance

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(oxycodone), in violation of Virginia Code § 18.2-248, with an offense date of

November 10, 2009;

e Conviction in Wise County, Virginia Circuit Court on or about January 8, 2018
(Case No. F17-229), for manufacturing a controlled substance
(methamphetamine), in violation of Virginia Code § 18.2-248, with an offense
date of January 11, 2017; and
e Conviction in Wise County, Virginia Circuit Court on. or about October 12,
2021 (Case No. F21-50), for possession with intent to manufacture, sell, give,
or distribute a Schedule I/II drug (methamphetamine), in violation of Virginia
Code § 18.2-248, with an offense date of January 1, 2021.
3. All in violation of Title 18, United States Code, Sections 922(g)(1), 922(¢)(3), and
924(e).

NOTICE OF FORFEITURE

1. Upon conviction of the felony offense alleged in this Indictment, the defendant shall
forfeit to the United States:
a. any firearms and ammunition involved or used in the commission of said
offenses, or possessed in violation thereof, pursuant to 18 U.S.C. § 924(d)
and 28 U.S.C. § 2461(c).
2. The property to be forfeited to the United States includes but is not limited to the

following property:

a. Firearms/Ammunition

1. Smith & Wesson, Model 60, .38 Caliber Revolver SN: R99428
2. 3 Rounds Remington and Peters .38 Caliber Ammunition

3. If any of the above-described forfeitable property, as a result of any act or omission

of the defendant:

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cannot be located upon the exercise of\due diligence;

has been transferred or sold'to, or deposited with a third person;

has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be subdivided
without difficulty;

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it is the intent of the United States to seek forfeiture of any other property of the defendant up to

the value of the above-described forfeitable property, pursuant to 21 U.S.C. § 853(p).

nd
A TRUE BILL, this 2a ~~ _ day of August, 2023.

‘/s/ Grand Jury Foreperson

CHRISTOPHER R. KAVANAUGH
United States Attorney

USAO #2019R00307
